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  6
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  7

  8                             UNITED STATES BANKRUPTCY COURT

  9                              NORTHERN DISTRICT OF CALIFORNIA

 10                                         SAN JOSE DIVISION

 11   In re                                          Case No. 17-50307 MEH
                                                     R.S. No. TJD-001
 12   BEAMREACH SOLAR, INC.,
                                                     Chapter 7
 13                          Debtor.                 Hon. M. Elaine Hammond

 14                                                  DECLARATION OF VICTOR CHOI IN
                                                     SUPPORT OF WELLS FARGO’S MOTION
 15                                                  FOR RELIEF FROM AUTOMATIC STAY

 16                                                  Hearing:
                                                     Date: April 21, 2017
 17                                                  Time: 10:00 a.m.
                                                     Place: Courtroom 3020
 18                                                         280 South First Street
                                                            San Jose, CA 95113-3099
 19

 20
              I, Victor Choi, declare under penalty of perjury as follows:
 21
              1.     I am a Vice President in the Credit Resolution Group at Wells Fargo Bank, N.A.
 22
      (“Wells Fargo”) and am authorized to sign this declaration of behalf of Wells Fargo in support of
 23
      the Motion for Relief From Automatic Stay (the “Motion”) filed concurrently herewith.
 24
                                                        1
      DECLARATION IN SUPPORT OF MOTION FOR RELIEF FROM AUTOMATIC STAY
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  1
             2.      As part of my job responsibilities, I have personal knowledge of and am familiar
  2   with the types of records maintained by Wells Fargo in connection with its financial
  3   accommodations related Beamreach Solar, Inc. (“Debtor”). The information in this declaration

  4   is taken from Wells Fargo’s business records regarding Debtor that are (a) made at or near the

      time of the occurrence of the matters recorded by persons with personal knowledge of the
  5
      information in the business record, or from information transmitted by person with person
  6
      knowledge; and (b) kept in the course of Wells Fargo’s regularly conducted business activities.
  7
      It is the regular practice of Wells Fargo to create and maintain such records.
  8
             3.      On or about July 22, 2009, Debtor entered into a Standy Letter of Credit
  9   Agreement with Wells Fargo (as amended or modified from time to time, the "SBLC

 10   Agreement"). A true and correct copy of the SBLC Agreement is attached hereto as Exhibit A.

 11   Pursuant to the SBLC Agreement, on July 28, 2009, Wells Fargo issued Irrevocable Standby

      Letter of Credit number NZS644544 ("SBLCNZS644544"), in the amount of $300,000, on
 12
      behalf of Debtor, with 1504-1530 McCarthy Blvd. - Milpitas LLC, as beneficiary.
 13
             4.      As security for all of Debtor's obligations to Wells Fargo, including but not
 14
      limited to Debtor's obligation to reimburse Wells Fargo for any demands made on any letters of
 15   credit issued pursuant to the SBLC Agreement, Debtor pledged its interest in all funds, including
 16   both principal and interest, in certificate of deposit #8046432202, dated July 22, 2009, held at

 17   Wells Fargo ("CD8046432202"), as evidenced by that certain Security Agreement - Specific

 18   Rights to Payment, dated July 22, 2009, executed by Debtor in favor of Wells Fargo (the "July

      2009 Security Agreement"). A true and correct copy of the July 2009 Security Agreement is
 19
      attached hereto as Exhibit B.
 20
             5.      On or about February 10, 2014, SBLCNZS644544 was increased to $450,000. As
 21
      further security for all of Debtor's obligations to Wells Fargo, Debtor pledged its interest in all
 22   funds, including both principal and interest, in certificate of deposit #5830741053, dated
 23   February 5, 2014, held at Wells Fargo ("CD5830741053"), as evidenced by that certain Security

 24   Agreement - Specific Rights to Payment, dated February 5, 2014, executed by Debtor in favor of



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  1
      Wells Fargo (the "February 2014 Security Agreement"). A true and correct copy of the February
  2   2014 Security Agreement is attached hereto as Exhibit C.
  3          6.      On or about July 10, 2014, SBLCNZS644544 was increased to $500,000. As

  4   further security for all of Debtor's obligations to Wells Fargo, Debtor pledged its interest in all

      funds, including both principal and interest, in certificate of deposit #7084855753, dated June 1,
  5
      2014, held at Wells Fargo ("CD7084855753"), as evidenced by that certain Security Agreement -
  6
      Specific Rights to Payment, dated June 1, 2014, executed by Debtor in favor of Wells Fargo (the
  7
      "June 2014 Security Agreement"). A true and correct copy of the June 2014 Security Agreement
  8
      is attached hereto as Exhibit D.
  9          7.      Pursuant to the SBLC Agreement, on October 10, 2014, Wells Fargo issued

 10   Irrevocable Standby Letter of Credit number IS0251534U ("SBLCIS0251534U"), in the amount

 11   of $50,000, on behalf of Debtor, with 1504-1530 McCarthy Blvd. - Milpitas LLC, as beneficiary.

      A true and correct copy of SBLCIS0251534U is attached hereto as Exhibit E. As further security
 12
      for all of Debtor's obligations to Wells Fargo, Debtor pledged its interest in all funds, including
 13
      both principal and interest, in certificate of deposit #8426798958, dated September 24, 2014,
 14
      held at Wells Fargo ("CD8426798958"), as evidenced by that certain Security Agreement -
 15   Specific Rights to Payment, dated September 24, 2014, executed by Debtor in favor of Wells
 16   Fargo (the "September 2014 Security Agreement"). A true and correct copy of the September

 17   2014 Security Agreement is attached hereto as Exhibit E.

 18          8.      On or about September 27, 2016, SBLCNZS644544 and SBLCIS0251534U were

      transferred to Oak Creek Properties, LLC ("Oak Creek").
 19
             9.      The expiration date of SBLCNZS644544 is February 28, 2019. The current
 20
      expiration date of SBLCIS0251534U is February 28, 2018, which will automatically extend to a
 21
      final expiration date of February 28, 2019, unless at least thirty (30) days prior to the current
 22   expiration date Wells Fargo sends written notice that it elects not to extend the expiration date of
 23   SBLCIS0251534U.

 24



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              10.    Pursuant to the SBLC Agreement, on September 14, 2016, Wells Fargo issued
  2   Irrevocable Standby Letter of Credit number IS0452430U ("SBLC IS0452430U", together with
  3   SBLCNZS644544 and SBLCIS0251534U, the "SBLCs"), in the amount of $50,000, on behalf of

  4   Debtor, with Navigators Insurance Company, as beneficiary. As further security for all of

      Debtor's obligations to Wells Fargo, Debtor pledged its interest in all funds, including both
  5
      principal and interest, in certificate of deposit #5548961258, dated September 14, 2016, held at
  6
      Wells    Fargo    ("CD5548961258",        together    with    CD8046432202,       CD5830741053,
  7
      CD7084855753, and CD8426798958, the "Certificates of Deposit"), as evidenced by that certain
  8
      Security Agreement - Specific Rights to Payment, dated September 14, 2016, executed by
  9   Debtor in favor of Wells Fargo (the "September 2016 Security Agreement", together with July

 10   2009 Security Agreement, February 2014 Security Agreement, June 2014 Security Agreement,

 11   and September 2014 Security Agreement, the "Security Agreements"). A true and correct copy

      of the September 2016 Security Agreement is attached hereto as Exhibit F.
 12
              11.    The expiration date of SBLCIS0452430U is currently September 9, 2017, but will
 13
      automatically extend for a successive one year period unless at least sixty (60) days prior to such
 14
      expiration date Wells Fargo sends written notice to the beneficiary that it elects not to extend the
 15   expiration date of SBLCIS0452430U.
 16           12.    On or about February 7, 2017, a draw of $60,197.18 was made on

 17   SBLCNZS644544 by Oak Creek Properties, LLC, resulting in fees as provided under the SBLC

 18   Agreement of $330.00, for a total reimbursement obligation of the Debtor to Wells Fargo of

      $60,527.18. Debtor did not reimburse Wells Fargo as required prior to the Petition Date and
 19
      such amount remains outstanding.
 20
              13.    As of the Petition Date, the funds in the Certificates of Deposit were as follows:
 21
      CD8046432202 ($300,000.00), CD5830741053 ($150,000.00), CD7084855753 ($50,000.00),
 22   CD8426798958 ($50,000.00) and CD5548961258 ($52,522.43).
 23

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